                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                                5:01CR5-RLV

UNITED STATES OF AMERICA                  )
                                          )
                  vs.                     )                  ORDER
                                          )
KOVA DUAN WRIGHT,                         )
                        Defendant.        )
_________________________________________ )


       THIS MATTER comes before the Court on its own motion for purposes of construing

Defendant’s filing of April 2, 2012 seeking an extension of time to appeal the Court’s March 8, 2012

Order denying relief pursuant to 18 U.S.C. §3582(c)(2) as a Notice of Appeal. (Document #977)

On May 22, 2012, the undersigned determined that Defendant’s filing was, in fact, timely for

purposes of FED . R. APP . P. 4(b) and 26(b). (Document #985) Accordingly, the Deputy Clerk is

directed to forward a copy of Defendant’s Notice of Appeal to the Fourth Circuit Court of Appeals.

       IT IS, THEREFORE, ORDERED that Defendant’s April 2, 2012 filing / motion is hereby

construed as a Notice of Appeal consistent with the Court’s Order of May 22, 2012. The Notice of

Appeal is appropriately designated as having been filed March 31, 2012 (postmark date).

       IT IS FURTHER ORDERED that the Deputy Clerk shall forward a copy of this Order to

the Fourth Circuit Court of Appeals.




                                                 Signed: May 23, 2012




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